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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGI A
                             BRUNSWICK DIVISIO N



UNITED STATES OF AMERICA


       v.                                    : CASE NO . : CR206-2 6


KYLE McCORMICK,
JAMES RAY SHEARIN
WENDELL O'NEAL
IKE GROOVER



                                         ORDER

       After an independent review of the record, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which Objections have been filed . In his

Objections, Defendant Kyle McCormick (McCormick") asserts the affidavit of Deputy

Sheriff Marion Surrency ("Surrency") was stale and almost entirely dependent upon

illegal and unsupported hearsay, rumors, and statements by witnesses whose reliability

and truthfulness were not verified . McCormick contends the Magistrate Judge

recognized the only "fresh information", the surveillance conducted by the Georgia

National Guard Counter Surveillance Team on April 4, 2006, does not allege any

criminal activities in and of itself . McCormick also contends the inclusion of this

information was a "desperate attempt to cure the staleness of the information" contained

in the affidavit . (Doc . No. 99, p . 1 .) McCormick avers the last date of activity noted in

Surrency's affidavit also "lacked reliable information" because there was no identifying

information about the vehicles going onto and leaving McCormick's property . (Id .)
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McCormick asserts no person present on his prope rty on this date was positively

identified as being one of his alleged associates .         Finally, McCormick alleges the

National Guard repo rted one of the residences it was observing was located in Metter,

Georgia .

       As discussed by the Magistrate Judge in his Repo rt , the totality of the

circumstances test suppo rt s Superior Court Judge James Tuten' s finding of probable

cause to issue a search warrant based on Surrency's affidavit and application for search

warrant . The relevancy of the information provided as a result of the Georgia National

Guard Counter Surveillance Team' s surveillance cannot be observed in a vacuum, as

Surrency' s affidavit details a series of alleged criminal activities . Even if this information

were excluded from Surrency 's affidavit, the last date provided in the affidavit was

February 23, 2006, approximately one and one half months prior to the issuance of the

search warrant . This brief lapse of time , as noted by the Magistrate Judge on page 8 of

his Repo rt, does not render stale the information Surrency sets fo rth in his affidavit .

       Surrency' s reference to 410 Ike Road being located in Metter, Georgia, appears

to be no more than a typographical error . This reference appears on page 29 of the

twenty-nine (29) page affidavit, and this is the only reference to this prope rty being

located in Me tter, Georgia . However, every other reference to prope rty located on Ike

Road identified this road as being in Odum , Georgia . In fact, the undersigned has noted

Surrency refers to two (2) locations on Ike Road-399 and 410 . Throughout the entirety

of his affidavit , Surrency stated these prope rties were located in Odum, Georgia, on no

fewer than ten (10 ) occasions; two of these occasions were on page 29 itself . (Doc. No .

76, Ex . A, pp . 1, 5, 14, 17, 22, 28-29 .)




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      McCormick's Objections are without merit . The Magistrate Judge's Report and

Recommendation is adopted as the opinion of the Court . McCormick's Motion to

Suppress (Doc . No . 73), as amended, is DENIED .

      SO ORDERED , this            day of                          , 2007 .




                                        JUDGE, UNITEP STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF GEORGI A




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